        Case 1:21-cr-00032-DLF Document 102 Filed 02/11/22 Page 1 of 5




           United States District Court for the District of Columbia

United States of America                   *

      v.                                   *               No. 1:21-CR-00032-DLF-1

Guy Wesley Reffitt                         *


      Reply to Government’s Response to Court’s Proposed Changes to
      Government’s Proposed Jury Instruction Regarding Count Two

      Mr. Reffitt maintains his objection and opposition to the proposed jury

instruction regarding Count Two for the reasons stated previously. Doc’s 89, 100.


I.    Instruction Addressing the “Nexus” Requirement.

      While the government’s proposed instruction does address the nexus

requirement, defendant maintains that certification of the Electoral College Vote

does not qualify as an “Official Proceeding” for the purpose of Section 1512(c)(2),

because Congress’ role is ministerial, not adjudicative. Doc’s 38, 55 at 1–4, 58 at 8–

13; 100 at 3.


II.   Objection to Definition of Corruptly.

      In Arthur Andersen LLP v. United States, the Supreme Court made clear that

if a defendant lacks the knowledge that a particular official proceeding is foreseeable,

then he cannot have the required intent to obstruct it. 544 U.S. 696, 708 (2005), citing

United States v. Aguilar, 515 U.S. 593, 599–600 (1995).


      Arthur Andersen does not support defining “consciousness of wrongdoing” as

the government proposes by combining ambiguous terms. Doc. 101 at 2. Instead,
        Case 1:21-cr-00032-DLF Document 102 Filed 02/11/22 Page 2 of 5




doing so would create an overbreadth problem. United States v. Reeves, 752 F.2d 995,

1001 (5th Cir. 1985) (“To interpret ‘corruptly’ [in obstruction statute] as meaning

‘with an improper motive or bad or evil purpose’ would raise the potential of

overbreadth’ in this statute because of the chilling effect on protected activities …

Where ‘corruptly’ is taken to require an intent to secure an unlawful advantage or

benefit, the statute does not infringe on first amendment guarantees and is not

‘overbroad.’”).


       Consistent with Circuit precedent, defendant proposes:

              To act corruptly means to act with an improper purpose and to
       engage in conduct knowingly and dishonestly and with the intent to
       obstruct, impede or influence the due administration of justice.
       “Corruptly” requires the government to prove beyond a reasonable doubt
       that the defendant committed an obstructive act with the intent to
       obtain an unlawful advantage for himself or an associate, and that he
       influenced another to violate their legal duty.

L. Sand, et al., Mod. Fed. Jury Instr.—Crim., Instr. 46-71, filed through Rel. 78B,

2021; United States v. Poindexter, 951 F.2d 369, 379 (D.C. Cir. 1991); United States

v. North, 910 F.2d 843, 882, 285 U.S. App. D.C. 343 (D.C. Cir. 1990) (a “corrupt” intent

means “the intent to obtain an improper advantage for oneself or someone else…”).


       Poindexter also stands for the unlawful-advantage standard and the transitive

corruption rule. 951 F.2d 369.


III.   Deleting The      Government’s       Examples      of   Corrupt/Non-Corrupt
       Conduct.

       The government’s examples do not resolve the legal problems with its

instruction that a proper instruction would avoid.


                                           2
        Case 1:21-cr-00032-DLF Document 102 Filed 02/11/22 Page 3 of 5




IV.   Objection to Clarification that the Court Is Not Defining an Official
      Proceeding as a Joint Session of Congress.

      Defendant objects to the Court not defining whether certification of the

Electoral College Vote pursuant to the Electoral Count Act of 1887 and the

Constitution qualifies as an “Official Proceeding” for the purpose of Title 18, United

States Code, Section 1512(c)(2), because this is a legal question. It is the Court’s

function to rule on questions of law. Barbara E. Bergman, Crim. Jury Instr. for the

District of Columbia, Fifth Ed., Instr. No. 2.102, filed through Rel. No. 17, Sep. 2019

(the Red Book); see also, Specht v. Jensen, 853 F. 2d 805, 807 (10th Cir. 1988). The

judge alone “instruct[s] the jury on the relevant legal standards.”       Burkhart v.

Washington Metro. Area Transit Auth., 112 F. 3d 1207, 1213 (D.C. Cir. 1997).


      The parenthetical may not just be modified, because a Joint Session of

Congress to certify the Electoral College Vote has nothing to do with the due

administration of justice. Defendant maintains that certification of the Electoral

College Vote does not qualify as an “Official Proceeding” for the purpose of Section

1512(c)(2), because Congress’ role is ministerial, not adjudicative. Doc’s 38, 55 at 1–

4, 58 at 8–13; 100 at 3.


      Defendant proposes:

            To find the defendant guilty of this crime, you must be convinced
      beyond a reasonable doubt:

             First: The defendant acted knowingly;

           Second: The defendant obstructed, influenced, or impeded, or
      attempted to obstruct, influence or impede, an official proceeding;




                                          3
        Case 1:21-cr-00032-DLF Document 102 Filed 02/11/22 Page 4 of 5




             Third: The defendant acted corruptly, that is, the defendant acted
      knowingly and dishonestly with the wrongful purpose to obstruct,
      influence, or impede the due administration of justice (emphasis
      added);

             Fourth: The defendant’s alleged actions had a relationship in
      time, causation, or logic with the proceeding such that it was foreseeable
      that defendant's conduct would interfere with the proceeding. In other
      words, the government must prove to you beyond a reasonable doubt
      that obstruction of an official proceeding was the natural and probable
      outcome of defendant’s conduct.

United States v. Ahrensfield, 698 F. 3d 1310 (10th Cir. 2012).



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                                          4
          Case 1:21-cr-00032-DLF Document 102 Filed 02/11/22 Page 5 of 5




                               Certificate of Service

      I hereby certify that on this 11th day of February 2022, a copy of the foregoing

Reply to Government’s Response to Court’s Proposed Changes to Government’s

Proposed Jury Instruction Regarding Count Two was delivered electronically to Mr.

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                                           /s/ William         L. Welch, III
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                                           5
